                           UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF WISCONSIN


VICTORIA BAUMAN                               )
         Plaintiff                            )
vs.                                           )       Case No. 1:21-cv-00519
KOHL’S CORPORATION                            )
         Defendant.                           )



                                     DEFENDANT KOHL’S, INC.’S
                                   NOTICE OF INTERESTED PARTIES


         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 7.1 of the

United Stated District Court for the Eastern District of Wisconsin, Defendant Kohl’s, Inc.,

misnamed as Kohl’s Corporation (hereinafter “Defendant”), states as follows:

Defendant is a wholly owned subsidiary of Kohl’s Corporation, which is a publicly held

corporation. No other public companies own more than 10% of Kohl’s, Inc.’s stock. As of this

date, Defendant is unaware of any person or entity, other than the named parties, with a

pecuniary or other interest that could be substantially affected by the outcome of this proceeding.




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Dated: May 18, 2021


                                             By:   /s/ Michael F. Tuchalski___________
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                                         CERTIFICATE OF SERVICE

         I hereby certify that on this date, I served the within Defendant Kohl’s, Inc.’s Corporate

Disclosure Statement via the Court’s electronic filing system upon the following:

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Dated: May 18, 2021                              /s/ Michael F. Tuchalski
                                                 Michael F. Tuchalski




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